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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      CR06-319JLR
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    QUAN DO,                     )
14                               )
                Defendant.       )
15 ______________________________)
16 Offenses charged:
17            Count I:      Conspiracy to Distribute Marijuana, in violation of Title 21, U.S.C.,
18                          Sections 841(a)(1), 841(b)(1)(A), and 846; and
19            Count II:     Conspiracy to Engage in Money Laundering, in violation of Title 18,
20                          U.S.C., Section 1956(h).
21   Date of Detention Hearings: September 28, 2006 and September 29, 2006.
22            The Court, having conducted a contested detention hearing pursuant to Title 18
23   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
24   hereafter set forth, finds that no condition or combination of conditions which the defendant
25   can meet will reasonably assure the appearance of the defendant as required and the safety
26   of any other person and the community. The Government was represented by Ye-Ting

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 1 Woo. The defendant was represented by Lennard Nahajski.
 2            The Government moves for detention, asserting that the defendant is the right-hand
 3 man of co-defendant Toan Chua Hoang who reportedly fled to Vietnam to avoid
 4 prosecution. The defendant is alleged to have a significant role in the drug conspiracy
 5 distribution organization and is considered to be a “lieutenant” providing direction to other
 6 co-defendants in the instant offense. The Government reports that the defendant poses a
 7 risk of flight as he travels to Vietnam annually, he does not have a stable residence, and he
 8 has significant access to cash as shown by the seizure of $7,700 dollars U.S. currency from
 9 his residence, also known in the conspiracy as a “stash” or “safe house.”
10            The defendant argues for release, maintaining that he has significant ties to the
11 Western District of Washington, he has strong family ties, he is gainfully employed, and he
12 cares for his ill father. Additionally, the defendant counters that the possession of cash is
13 not necessarily suggestive of criminal activity, and that minimal information was provided
14 by the Government supporting detention.
15        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
16            (1)    There is probable cause to believe the defendant committed the
17                   conspiracy drug offense. The maximum penalty is in excess of ten years.
18                   There is therefore a rebuttable presumption against the defendant’s
19                   release based upon both dangerousness and flight risk, under Title 18
20                   U.S.C. § 3142(e).
21            (2)    Nothing in this record satisfactorily rebuts the presumption against
22                   release under Title 18 § 3142 (g) for several reasons. The Court
23                   considered the following:
24                   (a)    The nature and circumstances of the offense charged, including
25                          whether the offense is a crime of violence or involves a narcotic
26                          drug. The instant offense is a conspiracy drug distribution of

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 1                         marijuana originating in Canada and smuggled to Washington for
 2                         transport to other states. The additional offense involves the
 3                         laundering of large sums of cash obtained as drug proceeds. The
 4                         investigation of locations of other large sums of cash is ongoing;
 5                         this raises concern regarding this defendant’s access to large sums
 6                         and/or drug proceeds which may be used to facilitate flight. The
 7                         defendant’s recent and frequent travel to Vietnam further
 8                         indicates a risk of flight given that a co-defendant in this matter
 9                         has reportedly already fled to Vietnam to avoid prosecution.
10                  (b)    The weight of the evidence. The seizure of $7,700 dollars U.S.
11                         currency from the defendant’s residence, also known in the
12                         alleged conspiracy as a “stash house”, appears to establish his role
13                         in the conspiracy as does the surveillance of the defendant’s
14                         actions in connection with other co-defendants.
15                  (c)    The history and characteristics of the person. This defendant
16                         represented to Pre-Trial Services that he was employed at a
17                         mortgage company. Pre-trial discovered that he engaged in
18                         training there, but was never employed there.
19                  (d)    Risk of danger to the community. The defendant is believed to
20                         have taken a leadership role in the alleged instant offense,
21                         consisting of a multi-state drug conspiracy and money laundering
22                         involving large sums of cash; this presents a substantial risk to the
23                         community.
24           Based upon the foregoing information, which is consistent with the
25 recommendation of U.S. Pre-trial Services, it appears that there is no condition or
26 combination of conditions that would reasonably assure future Court appearances and/or the


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 1 safety of other persons or the community.
 2          It is therefore ORDERED:
 3          (l)    The defendant shall be detained pending trial and committed to the
 4                 custody of the Attorney General for confinement in a correction facility
 5                 separate, to the extent practicable, from persons awaiting or serving
 6                 sentences or being held in custody pending appeal;
 7          (2)    The defendant shall be afforded reasonable opportunity for private
 8                 consultation with counsel;
 9          (3)    On order of a court of the United States or on request of an attorney for
10                 the Government, the person in charge of the corrections facility in which
11                 the defendant is confined shall deliver the defendant to a United States
12                 Marshal for the purpose of an appearance in connection with a court
13                 proceeding; and
14          (4)    The clerk shall direct copies of this order to counsel for the United
15                 States, to counsel for the defendant, to the United States Marshal, and to
16                 the United States Pretrial Services Officer.
17          DATED this 3rd day of October, 2006.


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                                                      MONICA J. BENTON
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                                                      United States Magistrate Judge
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